
904 So.2d 659 (2005)
B.W.H., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D04-1974.
District Court of Appeal of Florida, Fifth District.
July 1, 2005.
James S. Purdy, Public Defender, and Thomas J. Lukashow, Assistant Public Defender, Daytona Beach, for Appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Belle B. Schumann, Assistant Attorney General, Daytona Beach, for Appellee.
GRIFFIN, J.
We affirm on the authority of S.S.M. v. State, 898 So.2d 84 (Fla. 5th DCA 2004). We certify in this case the same question we previously certified in V.K.E. v. State, 902 So.2d 343 (Fla. 5th DCA 2005):
DOES A TRIAL JUDGE HAVE THE POWER AND AUTHORITY TO IMPOSE ON JUVENILES IN A JUVENILE DELINQUENCY PROCEEDING, THE MANDATORY SURCHARGES SET FORTH IN SECTIONS 938.08 AND 930.085?
AFFIRMED; QUESTION CERTIFIED.
SHARP, W., and PALMER, JJ., concur.
